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RAÚL R. LABRADOR
ATTORNEY GENERAL

STEVEN L. OLSEN, ISB #3586
Chief, Civil Litigation Division

BRIAN V. CHURCH, ISB #9391
Deputy Attorneys General
514 W. Jefferson, 3rd Floor
P.O. Box 83720
Boise, ID 83720-0010
Telephone: (208) 334-2400
Facsimile: (208) 854-8073
brian.church@ag.idaho.gov

Attorneys for Defendant State of Idaho

                     UNITED STATES DISTRICT COURT

                                 DISTRICT OF IDAHO

UNITED STATES OF AMERICA,                Case No. 1:22-cv-00329-BLW

                    Plaintiff,           SUPPLEMENTAL BRIEF
                                         SUPPORTING STATE OF
v.                                       IDAHO’S MOTION FOR
                                         RECONSIDERATION
THE STATE OF IDAHO,                      [Dkt. 101]

                    Defendant.
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      After this Court entered its preliminary injunction on August 24, 2022, Dkt.

95—and after the State of Idaho filed its initial motion for reconsideration, Dkt. 101-

1—the Idaho Supreme Court issued a decision holding that Idaho’s general abortion

ban does not violate the Idaho Constitution. Planned Parenthood Great N.W., Haw.,

Alaska, Ind., Ky. v. State of Idaho, Nos. 49615, 49817, 49899, 2023 WL 110626 (Idaho

2023); Dkt. 119-2 at 3. 1 In reaching that decision, the Idaho Supreme Court also

defined the scope of Idaho Code § 18-622 in at least two ways that conflict with this

Court’s interpretation of that law. First, the Idaho Supreme Court held that Idaho

Code § 18-622 “does not require objective certainty” nor a “medical consensus” nor “a

particular level of immediacy, before the abortion can be ‘necessary’” to prevent a

pregnant woman’s death. Dkt. 119-2 at 89-90; cf. Dkt. 95 at 27-29. Second, the Idaho

Supreme Court held that ectopic and non-viable pregnancies “do not fall within [the]

definition” of “abortion[s] as defined in [Title 18, Chapter 6].” Dkt. 119-2 at 88; cf.

Dkt. 95 at 22-23.

      These aspects of the Idaho Supreme Court’s recent decision are binding on this

Court. Whole Women’s Health v. Jackson, 142 S. Ct. 522, 536 (2021) (plurality opinion

of Gorsuch, J., in part II-C) (citing R.R. Comm’n of Tex. v. Pullman Co., 312 U.S. 496,

500 (1941)). Yet in its preliminary injunction decision, this Court relied on its own

interpretation of Idaho Code § 18-622, which is now in conflict with the Idaho

Supreme Court’s binding decision. Under what is now known to be the authoritative

interpretation of Idaho law, this Court’s preliminary injunction decision would come

out differently. The affirmative defense made available to physicians in Idaho Code

§ 18-622 does not conflict with EMTALA because it does not require a “medically

impossible” determination that a pregnant woman is certain to die without an

abortion, Dkt. 95 at 29, nor does it promote “delays” or “worsened patient outcomes”

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        Further citations will be to the slip opinion filed at Dkt. 119-2. That opinion
is now final. See Idaho Appellate Rule 38(b); Request for Judicial Notice.


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by encouraging physicians to wait to provide care until a pregnant woman is “nearer

and nearer to death.” Id. at 32. Nor does Idaho law prevent a physician from treating

a woman presenting with an ectopic or non-viable pregnancy in an emergency setting,

since the treatment for those medical emergencies does not meet the definition of an

“abortion” under Idaho law. Dkt. 95 at 7-8, 22-23. Accordingly, in light of the Idaho

Supreme Court’s recent decision, there is no conflict between Idaho Code § 18-622

and EMTALA.

      The State continues to believe that this Court should reconsider its

preliminary injunction decision for the reasons set out in its motion for

reconsideration. Dkt. 101-1. But in addition, because this Court’s preliminary

injunction decision depends on an interpretation of Idaho law that the Idaho Supreme

Court has now rejected, this Court should grant the State’s motion for reconsideration

and deny the United States’ motion for a preliminary injunction.

                                   DISCUSSION

A.    This Court’s interpretation of the affirmative defense as being
      ambiguous and requiring physicians to make “inscrutable” decisions
      regarding “imminency of death” is simply incorrect.
      This Court’s understanding of the “necessary to prevent the death of the

pregnant woman” affirmative defense within Idaho Code § 18-622 is no longer

supportable in light of the Idaho Supreme Court’s definitive interpretation of state

law. This Court found fault with the affirmative defense because it thought it lacked

clarity due to “ambiguous language and the complex realities of medical judgments.”

Dkt. 95 at 27. In this Court’s view, the affirmative defense would require a physician

to determine “how imminent a patient’s death must [be] before an abortion is

necessary”—an “inscrutable” decision. Id. The Court found support for its view, not

in the text of the statute, but from statements offered by doctors put forward by the

federal government; it believed that the affirmative defense required physicians to



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“know the imminency of death” in order to rely on the defense. Id. at 28. The Court

also concluded that the affirmative defense required physicians to make an “often

‘medically impossible’ determination that ‘death [i]s the guaranteed outcome.’” Id. at

29 (citations omitted).

      But the Idaho Supreme Court understood the affirmative defense differently.

The affirmative defense provides wide latitude for a physician’s “good faith medical

judgment” on whether the abortion is “necessary to prevent the death of the pregnant

woman” based on the facts known to the physician at the time. Dkt. 119-2 at 89. A

physician’s subjective judgment is what matters. Id. Indeed, the defense “does not

require objective certainty.” Id. It does not require “a particular level of immediacy,

before the abortion can be ‘necessary.’” Id. Instead, Idaho Code § 18-622 “uses broad

language to allow for the ‘clinical judgment that physicians are routinely called upon

to make for proper treatment of their patients.’” Id. (citing Spears v. State, 278 So. 2d

443, 445 (Miss. 1973)). “A ‘medical consensus’ on what is ‘necessary’ to prevent the

death of the woman when it comes to abortion is not required.” Id. at 90.

      Not only is there no “immediacy” requirement in the affirmative defense, there

is also no “‘certain percent chance’ requirement that the death will occur.” Id. In fact,

the affirmative defense was written broadly; the Idaho Supreme Court rejected an

argument that the defense should have more guidelines. Those would “only

necessarily limit the subjective nature of the affirmative defense.” Id. Plus, as the

supreme court noted, the petitioners’ challenge to the “necessary to prevent the death

of the pregnant woman” “improperly pluck[ed] the phrase from the sentence that

gives it broad meaning.” Id. The court also noted that adding factors such as

immediacy and certain percent chance of death would add objective components to a

subjective defense, removing the “wide room for the physician’s ‘good faith medical

judgment’ on whether the abortion was ‘necessary to prevent the death of the

pregnant woman.’” Id. at 89, 90-91.


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      The Idaho Supreme Court’s decision renders essential parts of this Court’s

preliminary injunction order unsupportable, and as a result, this Court should deny

the preliminary injunction that the United States seeks.

      First, this Court’s interpretation of Idaho Code § 18-622 and the affirmative

defense is simply no longer supportable. A doctor need not make a determination of

imminency of death in order to rely upon the affirmative defense. Contrast Dkt. 95 at

27, 28. There need not be a certain percent chance of death either. Contrast id. at 28-

30. Death need not be an objectively “‘guaranteed outcome.’” Contrast id. at 29

(citation omitted). Nor is the “clinical judgment that physicians are routinely called

upon to make for proper treatment of their patients” a “medically impossible”

determination. Contrast id. (citation omitted).

      The affirmative defense has a core of circumstances “that a person of ordinary

intelligence could unquestionably understand when it comes to whether his or her

conduct satisfies the [] affirmative defense.” Dkt. 119-2 at 90. It “includes every

situation where, in the physician’s good faith medical judgment, an abortion was

‘necessary’ to prevent the death of the pregnant woman.” Id. (citation omitted).

Contrary to this Court’s understanding, the defense is not ambiguous, its required

decision is not “uncertain,” and it certainly is not an “empty promise.” Dkt. 95 at 29.

      Second, this Court’s analysis of obstacle preemption regarding the affirmative

defense, Dkt. 95 at 26-31, has been upended. 2 The Court built its analysis upon “[t]he

uncertain scope” of the defense which led the Court to conclude the law would deter

abortions. Id. at 27. It began by examining what a physician would need to prove to

rely on the affirmative defense. Id. After providing an example based upon its

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        As the State also noted in its motion for reconsideration, the Court’s obstacle
analysis got off on the wrong footing by assigning a different purpose to EMTALA
than its recognized anti-patient-dumping purpose. Dkt. 101-1 at 11-13. Idaho’s
regulation of abortion certainly does not encourage the dumping of patients. Instead,
Idaho encourages the protection of prenatal life.


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interpretation of the defense, the Court went on to cite the federal government’s

physician’s statements. Id. at 28-29. The Court cited statements from Drs. Cooper

and Corrigan that were based upon imminency of death, and Dr. Corrigan who

discussed predicting with certainty an outcome. Id. Dr. Fleisher’s statement cited by

the Court saw the necessary-to-prevent-the-death standard as not useful, even

though the Idaho Supreme Court found it to be an act of routine clinical judgment.

Id. at 29 (also citing Dr. Seyb’s declaration).

      Likewise, later statements cited by the Court from Dr. Corrigan, an amicus

brief, and Dr. Fleisher, contending that the statute required a medically impossible

decision that death was the guaranteed outcome, and that death must be a certainty,

have been proven incorrect by the Idaho Supreme Court’s interpretation of Idaho

Code § 18-622. Drs. Cooper, Corrigan, and Fleisher, all had incorrect understandings

of the law, and these misunderstandings certainly colored other statements made by

them. E.g., Dkt. 86-3 (Dr. Corrigan Suppl. Decl.) ¶ 10 (understanding Idaho law to

require risk-based-percentage analysis), Dkt. 86-5 (Dr. Cooper Suppl. Decl.) ¶ 2

(understanding Idaho law to require death be “imminent”), Dkt. 86-2 (Dr. Fleisher

Suppl. Decl.) ¶ 4 (understanding Idaho law to require “a certainty (or at least very

high probability) of death”); see also Dkt. 86-4 (Dr. Huntsberger Decl.) ¶ 12 (“If we

must wait until a patient’s death is imminent . . . .”), Dkt. 17-8 (Dr. Seyb Decl.) ¶ 13.

      Third, this Court’s remaining obstacle preemption analysis, Dkt. 95 at 31-35,

was based upon the supposition that providers would delay providing an abortion

until death was imminent or more certain to occur—what the Court referred to as

“the blurry line” of the defense. Id. at 32. Yet, the Idaho Supreme Court’s

interpretation of Idaho Code § 18-622 and the “necessary to prevent the death” phrase

undermines this analysis and the basis for the statements provided by the federal

government’s doctors. Idaho’s law does not require pregnant women “get nearer and

nearer to death.” Id. Instead, Idaho’s law “leaves wide room for the physician’s ‘good


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faith medical judgment,’” relies on routine clinical judgment, and provides that “‘core

of circumstances’ that a person of ordinary intelligence could unquestionably

understand when it comes to whether his or her conduct satisfies the above

affirmative defense requirement.” Dkt. 119-2 at 89, 90. Here, the Court’s analysis of

“delays” and “worsened patient outcomes” was based upon a misunderstanding of the

affirmative defense in Idaho Code § 18-622. Dkt. 95 at 33. Moreover, the Court’s

speculative concern that it would be more difficult to recruit OB/GYNs was also based

on a misinterpretation of the law, which as now interpreted by the Idaho Supreme

Court, alleviates the concerns of the Court. Id. at 34.

      Fourth, this Court’s impossibility preemption analysis, Dkt. 95 at 19-24,

concluded it was impossible for a physician to comply both with EMTALA and Idaho’s

law. The State has already explained why this is not the case because “there is no

direct conflict between the state law defining the bounds of care that can be provided

and a requirement of EMTALA to provide stabilizing treatment within those bounds.”

Dkt. 101-1 at 9-13. The impossibility preemption analysis also relied on an incorrect

understanding of the affirmative defense, finding that “the patient’s death must be

imminent or certain absent an abortion.” Dkt. 95 at 21. Again, this understanding is

simply insupportable under the Idaho Supreme Court’s interpretation discussed

above. Additionally, the impossibility preemption analysis faulted the defense for

having a scope that “is tremendously ambiguous” and relied on the interpretation of

the defense that the Court discussed in its obstacle preemption analysis—which, as

shown above, was faulty. Id.

      In sum, the Idaho Supreme Court’s analysis of Idaho Code § 18-622 and its

affirmative defenses undermines this Court’s interpretation of the statute, upends

this Court’s obstacle preemption analysis, and highlights faults in this Court’s

impossibility preemption analysis. For these reasons, and those identified in the

initial motion for reconsideration, Dkt. 101, this Court should reconsider its


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preliminary injunction order and deny the United States’ motion for a preliminary

injunction.

B.     Termination of ectopic pregnancies and other non-viable
       pregnancies are not abortions.
       The Idaho Supreme Court’s opinion also addressed the scope of Idaho Code

§ 18-622, and its conclusion is contrary to this Court’s. This change in the controlling

law is grounds for reconsideration and reversing its decision. Sch. Dist. No. 1J,

Multnomah Cnty., Or. v. ACandS, Inc., 5 F.3d 1255, 1263 (9th Cir. 1993). In its

opinion, the Idaho Supreme Court considered if Idaho Code § 18-622 applied and

imposed criminal penalties on terminating all pregnancies. Dkt. 119-2 at 87-89.

Applying a limited judicial construction, the Idaho Supreme Court determined that

ectopic and non-viable pregnancies “do not fall within [the] definition” of “abortion[s]

as defined in [Title 18, Chapter 6].” Id. at 88 (second and third alterations in original).

For ectopic pregnancies, the Idaho Supreme Court found that this was “[c]onsistent

with the legislature’s goal of protecting prenatal fetal life at all stages of development

where there is some chance of survival outside the womb.” Id. As for non-viable

pregnancies, the court explained in those situations “where the unborn child is no

longer developing” and as such terminating those “are plainly not within the

definition of ‘abortion.’” Id.

       The Idaho Supreme Court has applied a limiting judicial construction to the

relevant definitions and Idaho Code § 18-622 and held that termination of ectopic

pregnancies and of non-viable pregnancies are not abortions. The Idaho Supreme

Court’s post-preliminary-injunction holding is now binding. See Dkt. 121 at 4.

       This Court’s preliminary injunction order highlighted an ectopic pregnancy as

an emergency medical condition, Dkt. 95 at 7-8, and faulted the Legislature’s now-

validated position that the termination of an ectopic pregnancy was not an abortion,

id. at 22-23. This of course impacts the analysis of whether there is any conflict


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between EMTALA and Idaho Code § 18-622, since a prime example from the Court is

now—as a matter of law—not an abortion. (Of course, the State’s position is that the

regulation of abortion is not in conflict with EMTALA—state law can define the

bounds of care that can be provided, while EMTALA can require hospitals to deliver

treatment within those bounds. See, e.g., Dkt. 101-1 at 3-6, 9-13.)

      The impact extends beyond this Court’s preliminary injunction order, however.

The federal government relied on its example of ectopic pregnancies in its complaint

and its preliminary injunction briefing. Dkt. 1 at 2, 7; Dkt. 17-1 at 2, 9, 10, 18; Dkt.

86 at 8-10, 16; see also Dkt. 106 at 18. Then the federal government’s doctors relied

on the erroneous interpretation of Idaho Code § 18-622 in providing their testimony

regarding ectopic pregnancy. E.g., Dkt. 17-3 (Dr. Fleisher) ¶¶ 13-14; Dkt. 86-4 (Dr.

Huntsberger) ¶¶ 9-13, 16. As such, a significant basis for the federal government’s

concern no longer exists—though, again, the State’s position is that its regulation of

abortion does not conflict with EMTALA.

                                   CONCLUSION

      The Idaho Supreme Court’s decision is a change in the controlling law. Its

interpretation of Idaho Code § 18-622 and the affirmative defenses shows not only

that the Court’s interpretation of the law was wrong, but also that the analysis of

preemption was flawed. Second, the Court’s holding regarding ectopic pregnancies

(and any other non-viable pregnancies) is now unsupported. These two reasons,

which supplement those identified by the State in its earlier filed motion for

reconsideration, are reasons to reconsider the preliminary injunction. Upon


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reconsideration, the federal government’s preliminary injunction motion should be

denied.

      DATED: February 6, 2023.

                                     STATE OF IDAHO
                                     OFFICE OF THE ATTORNEY GENERAL


                               By:     /s/ Steven L. Olsen
                                     STEVEN L. OLSEN
                                     Deputy Attorney General




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                         CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 6th day of February, 2023, I electronically
filed the foregoing with the Clerk of the Court using the CM/ECF system which sent
a Notice of Electronic Filing to the following persons:

BRIAN DAVID NETTER                       DANIEL W. BOWER
DOJ-Civ                                  Morris Bower & Haws PLLC
Civil Division                           dbower@morrisbowerhaws.com
brian.netter@usdoj.gov
                                         MONTE NEIL STEWART
DANIEL SCHWEI                            Attorney at Law
DOJ-Civ                                  monteneilstewart@gmail.com
Federal Programs Branch
daniel.s.schwei@usdoj.gov                Attorneys for Intervenors-Defendants

JULIE STRAUS HARRIS                      JAY ALAN SEKULOW
DOJ-Civ                                  sekulow@aclj.org
Civil Division, Federal Programs
Branch                                   JORDAN A. SEKULOW
julie.strausharris@usdoj.gov             jordansekulow@aclj.org

LISA NEWMAN                              STUART J. ROTH
DOJ-Civ                                  Stuartroth1@gmail.com
Civil Division, Federal Programs
Branch                                   OLIVIA F. SUMMERS
lisa.n.newman@usdoj.gov                  osummers@aclj.org

ANNA LYNN DEFFEBACH                      LAURA B. HERNANDEZ
DOJ-Civ                                  lhernandez@aclj.org
Civil Division, Federal Programs
Branch                                   Attorneys for Amicus Curiae
anna.l.deffebach@usdoj.gov               American Center for Law & Justice

CHRISTOPHER A. EISWERTH                  WENDY OLSON
DOJ-Civ                                  Stoel Rives LLP
Federal Programs Branch                  wendy.olson@stoel.com
christopher.a.eiswerth@usdoj.gov
                                         JACOB M. ROTH
EMILY NESTLER                            Jones Day
DOJ-Civ                                  jroth@jonesday.com
emily.b.nestler@usdoj.gov
                                         AMANDA K. RICE
                                         Jones Day



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Attorneys for Plaintiff United States of    arice@jonesday.com
America
                                            CHARLOTTE H. TAYLOR
LAURA ETLINGER                              Jones Day
New York State Office                       ctaylor@jonesday.com
of the Attorney General                     Attorneys for Amici Curiae
laura.Etlinger@ag.ny.gov                    The American Hospital Association and
                                            the
Attorney for Amici States                   Association of American Medical
California, New York, Colorado,             Colleges
Connecticut, Delaware, Hawaii, Illinois,
Maine, Maryland, Massachusetts,             SHANNON ROSE SELDEN
Michigan, Minnesota, Nevada, New            Debevoise & Plimpton LLP
Jersey, New Mexico, North Carolina,         srselden@debevoise.com
Oregon, Pennsylvania, Rhode Island,
Washington, and Washington, D.C.            ADAM B. AUKLAND-PECK
                                            Debevoise & Plimpton LLP
                                            Aaukland-peck@debevoise.com

                                            LEAH S. MARTIN
                                            Debevoise & Plimpton LLP
                                            lmartin@debevoise.com

                                            Attorneys for Amici Curiae American
                                            College of Emergency Physicians, Idaho
                                            Chapter of the American College of
                                            Emergency Physicians, American
                                            college of Obstetricians and
                                            Gynecologists, Society for Maternal-
                                            Fetal Medicine, National Medical
                                            Association, National Hispanic Medical
                                            Association, American Academy of
                                            Pediatrics, American Academy of
                                            Family Physicians, American Public
                                            Health Association, and American
                                            Medical Association


                                                  /s/ Steven L. Olsen
                                                STEVEN L. OLSEN




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